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 1   McGREGOR W. SCOTT
     United States Attorney
 2   MICHAEL M. BECKWITH
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2797
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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )      CR. 2:06-cr-00289-MCE
12             Plaintiff,          )
                                   )      STIPULATION AND [PROPOSED] ORDER
13                                 )      CONTINUING STATUS CONFERENCE AND
          v.                       )      EXCLUDING TIME
14                                 )
     JESUS JAIME MARTINEZ, et al., )
15                                 )
               Defendants.         )      Hon. Morrison C. England, Jr.
16                                 )
17
18        The parties request that the status conference currently set
19   for October 3, 2006, be continued to October 31, 2006, and
20   stipulate that the time beginning October 3, 2006, and extending
21   through October 31, 2006, should be excluded from the calculation
22   of time under the Speedy Trial Act.      The parties submit that the
23   ends of justice are served by the Court excluding such time, so
24   that counsel for each defendant may have reasonable time
25   necessary for effective preparation, taking into account the
26   exercise of due diligence.     18 U.S.C. § 3161(h)(8)(B)(iv).         In
27   particular, counsel for all parties need more time to evaluate a
28   possible plea disposition and information relevant to sentencing.

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 1   The parties stipulate and agree that the interests of justice
 2   served by granting this continuance outweigh the best interests
 3   of the public and the defendants in a speedy trial.            18 U.S.C. §
 4   3161(h)(8)(A).
 5                                             Respectfully Submitted,
 6                                             McGREGOR W. SCOTT
                                               United States Attorney
 7
 8   Dated:    October 2, 2006             By:/s/ Michael M. Beckwith
                                              MICHAEL M. BECKWITH
 9                                            Assistant U.S. Attorney
10
11   Dated:    October 2, 2006             By:/s/ Dina Santos
                                              DINA SANTOS
12                                            Attorney for defendant
                                              Jesus Jaime Martinez
13
14   Dated:    October 2, 2006             By:/s/ Linda Harter
                                              LINDA HARTER
15                                            Attorney for defendant
                                              Christian Moreno
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 1                                    ORDER
 2        The status conference in case number CR. S-06-0101 MCE,
 3   currently set for October 3, 2006, is continued to October 31,
 4   2006, and the time beginning October 3, 2006, and extending
 5   through October 31, 2006, is excluded from the calculation of
 6   time under the Speedy Trial Act.       The Court finds that interests
 7   of justice served by granting this continuance outweigh the best
 8   interests of the public and the defendants in a speedy trial.         18
 9   U.S.C. § 3161(h)(8)(A).
10
11   IT IS SO ORDERED.
12
13   Dated: October 12, 2006
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16                                    _____________________________
                                      MORRISON C. ENGLAND, JR
17                                    UNITED STATES DISTRICT JUDGE
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